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In The Matter Of:
Dwight Hurd v.
Dr. Charles Lye, et al.

Roger Dodd
June 10, 2020

WV Depos
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Clarksburg, West Virginia 26301

Original File Roger Dodd.txt

EXHIBIT

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1 A. That would have been the associate warden, 1 A. Okay.
2 Dennis Peters. 2 Q. Have you ever gotten angry at an inmate?
3 Q. What does being a shift commander -- I know | 3 A. In 17 years I would assume probably, yeah.
4 you said that you're responsible for the overall safety | 4 Q. Do you remember who Dwight Hurd is?
5 of the facility, but what sort of specific job duties do | 5 A. Yes.
6 you have in that position? 6 Q. And what are your impressions of Mr. Hurd?
7 A. Well, there's paperwork that has to be done 7 A. [really don't have any. I knew of him the
8 every shift. Incident reports that -- that are filed on | 8 night of that incident, and I haven't had any
9 my shift go through me and I review them, things of that | 9 involvement with him since that incident.
10 nature. Any problems arise, questions to be answered. | 10 Q. Is the night of incident the first time you
11 Q. Are you responsible for reviewing or answering {11 recall any interactions at all with him?
12 inmate grievances? 12 A. Yes, ma'am.
13 A. No, ma'am. . 13 Q. Can you tell me what you recall about the
14 Q. Are you responsible for any sort of oversight |14 night of the incident on October 21st?
15 or disciplinary action with regards to any employees? |15 A. You just want me to run you through what
16 A. No, ma'am. 16 happened?
17 Q. Are you responsible for scheduling? 17 Q. Sure.
1s <A. Yes. Yes, ma'am. 18 A. Okay. I got a phone call from my supervisor,
19 Q. Do you review log notes? 19 Dennis, to go get Mr. Hurd, take him to medical to get
20 A. I don't know what you mean by "log notes." _|20 him a pre-seg check, and then take him to seg. I hada
21 I'msorry. 21 trainee at the time that was working, so | took her to
22 Q. Am I correct that during each shift there'sa [22 go do it while I supervised. And I let her try to
23 logbook on a unit where there's notes taken? 23 handle it, and then I would just watch. She went to
24 A. Yes, ma'am. Yes. I'm sorry. Go ahead. 24 Mr. Hurd's door, had him come out of his room. He did.
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1 Q. I'll just -- for the record, do you review the 1 She instructed him to get up against the wall for a pat
2 notes in the unit logbooks? 2 down, and he refused. And she asked him a couple times.
3 A. Yes. A supervisor reviews them every night, | 3 He refused. So I walked over to him and took him by the
4 either me or one of my sergeants. 4 arm and told him, "Come on. Let's go get on the wall.
5 Q. You mentioned that you reviewed disciplinary | 5 Let me pat you down and take you up to medical." At
6 incident reports. Is that right? 6 that time he jerked away from me, displaying defensive
7 A. Yes, ma'am. 7 resistance, and ran out into the middle of the unit or
8 QQ. Are you responsible for drafting anything if 8 the pod. I continued -- I told him to get against the
9 it's an incident that you were not personally involved | 9 wall multiple times. He refused. I took out my OC and
10 in, or are you simply reviewing those? 10 told him that, you know, he needs to get on the wall and
11 =A. Just reviewing. 11 comply with the orders or I'd deploy a burst of my OC.
12 Q. And are you responsible for issuing any 12 Hestill refused. I did deploy one burst. Whether I
13 disciplinary reports to inmates? 13 hit him or not | don't know because he took off running
14 A. Do] issue disciplinary reports? If I see a 14 about the time I did. He ran to his right, which would
15 violation take place, yes. 15 be my left, and 1 moved to cut him off, and I grabbed
16 Q. So with that respect, your duties with issuing |16 ahold of him. We went to the floor. He struggled with
17 disciplinary reports would be the same as any 17. me. Officer Stout deployed more OC trying to get him to
18 correctional officer? 18 quit struggling, quit resisting. At some point he had
19 A. Yes. 19 managed to get on top of me. Then other officers
20 Q. Iapologize. Is it getting hard to hear me? 20 arrived at the scene. And at that point after that I
21 A. No. Well, I don't hear very well, so that's 21 was, like, at the bottom of a big -- of a pile and with
22 why I'm leaning up toward the monitor. 22 OC inmy face. So that's pretty much the extent of it,
23 Q. Sure. Well, please, any time you haven't 23. of my part in it.
24 heard a question or I need to repeat, just let me know. | 24 Q. Just to clarify for the record, you said that

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1 =A. Yes, ma'am. 1 segregation unit.
2 Q. And then do you know where within the 2 Q. Do you remember who made that call?
3 segregation unit he would have been decontaminated? | 3 A. It would have either been Sergeant Ratliff or
4 A. In the shower. 4 Officer Leonard. They were the two working there. I'm
5 Q. And at any point did you see him in 5 not sure which one called me.
6 segregation prior -- prior to the later that night 6 Q. And do you remember what time that would have
7 suicide attempt, did you see him again? 7 been?
8 A. No. 8 A. No, ma'am.
9 Q. So the last time you saw Mr. Hurd that 9 Q. And what did you discover or understand had
10 night -- again, prior to the suicide incident -- would |10 happened?
11 have been at medical; is that right? 11 A. What did I discover had happened when I got
12 A. No. When he went in -- when he was taken into {12 there?
13 segregation, once he was in segregation and put in the |13 Q. Well, let me ask this: When you were called
14 shower, I left. 14 to report to the segregation unit, was there anything --
15 Q. Oh. So you were part of the escort to the 15 were you told why, or was it simply --
16 shower for decontamination? 16 A. It was to check on Mr. Hurd whether -- I don't
17 A. Yes. I'm not sure if I took him to the 17 know how much details they went into. I just knew I
1s shower. I know I helped take him to the unit. 18 needed to come check on Mr. Hurd.
19 Q. Okay. So as we've mentioned, we know there }19 wwe
20 was a second incident that night. Prior to the 20 (Court reporter clarification)
21 discovery of Mr. Hurd's suicide attempt,do youknow }21 0 wn
22 whether he had been evaluated or seen by anyone from | 22 MS. MILNES: I think I said "or was it
23 mental health? 23 simply 'Please report'"?
24 A. I would say no because of the time of the 24 BY MS. MILNES:
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1 evening. 1 Q. So in your own words, what happened when you
2 Q. Under normal circumstances, so had there not | 2 reported?
3 been a second incident, do you know when he would have | 3. A. _I looked in his window and he was laying on
4 been seen, or would he have eventually been seen by | 4 the floor with a sheet tied around his neck.
5 mental health, or do you know? 5 Q. What happened next?
6 A. I don't know. 6 A. Myself, I went in the room with I believe it
7 Q. Given that he was acting erratically, did 7 was Dennis Peters, and I untied the sheet from his neck.
8 anyone make any recommendations that he be seen by | 8 Q. And did you participate in any further
9 mental health? 9 transport or checking of Mr. Hurd after that?
10 MR. LEMASTERS: Object. Object to form. |10 A. I don't believe so.
11 Facts not in evidence. He never testified that he was |11 Q. After that incident, do you know whether
12 acting erratically. 12 Mr. Hurd was placed on suicide watch?
13. BY MS. MILNES: 13 A. Yes, he was.
14 Q. Given that you earlier testified that his 14 Q. Do you ever participate in doing checks for
15 actions were unusual, did you or anyone else recommend |15 inmates who are on suicide watch?
16 that he be seen by mental health? 16 A. No, ma'am.
17 A. I did not recommend it. I -- but I didn't 17 Q. Are you familiar with what the procedures are
18 say -- I said his actions were unusual for an inmate at {18 for that?
19 this facility, not that they were usual for him, because |19 A. I mean, are you asking am I -- am I the
20 I have no previous history with him. 20 officer assigned to watch them when they're on suicide
21 Q. Prior to -- well, let's -- so with the second 21 watch? Is that what you're asking me?
22 incident, how did you learn that there had been a 22 Q. Well, I think that's what I asked the last
23 suicide attempt? 23 question, and I understood that you said no to that; is
24 A. I gota phone call asking me to report tothe [24 that right?
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